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United States District Court
District of Massachusetts

Dion Quinn,
Plaintiff,

Civil Action No.
24-10285-NMG

Vv.
Lloyd J. Austin et al.,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

Pending before the Court is the motion of defendant
Christine Wormuth, Secretary of the Department of the Army,
(“Wormuth”) to strike an amended complaint that plaintiff Dion
Quinn (“plaintiff"), pro se, filed without leave of Court.

This case arises from allegations that plaintiff was
treated unequally, retaliated against, and wrongfully terminated
from his employment at Boston’s Military Entrance Processing
Station. Plaintiff filed a complaint in the Western District of
Washington against Lloyd J. Austin III, Secretary of the
Department of Defense, in June, 2023. On a motion for transfer
of venue, the case was transferred to this Court in February,
2024, and the Court ordered Wormuth to be added as a defendant.

Wormuth subsequently moved to dismiss plaintiff's

complaint. In his reply to that motion, plaintiff attempted to

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raise new factual allegations. Defendants’ motion to strike
those allegations was allowed. In its order, the Court informed
plaintiff that he could file a motion to amend his pleading
within 28 days. Plaintiff did not do so. Instead, he filed an
amended complaint without seeking leave of Court.

Under Fed. R. Civ. P. 15(a) (1), parties have the right to
amend their pleadings, including complaints, as a matter of
course within 21 days of serving it or within 21 days after
service of a responsive pleading or Rule 12 motion. In all
other cases, a party must first seek leave of court before
filing any amended pleadings. Fed. R. Civ. P. 15(a) (2).

Wormuth asserts, and plaintiff does not dispute, that
filing an amended complaint in this case requires leave of
Court, see id., and that plaintiff never sought such leave.
Now, Wormuth moves for Court to strike plaintiff’s amended
complaint as improperly filed, while plaintiff seeks to have his
amended complaint admitted or, in the alternative, to file a
belated motion for leave to amend his complaint.

A motion to strike under Fed. R. Civ. P. 12(f) provides
courts “considerable discretion” to strike “from a pleading

any redundant, immaterial, impertinent, or scandalous

matter.” Alvarado-Morales v. Digital Equip. Corp., 843 F.2d 613,

618 (1st Cir. 1988). Such motions are generally disfavored.

F.D.I.C. v. Gladstone, 44 F. Supp. 2d 81, 85 (D. Mass. 1999).

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This is especially true for pro se plaintiff‘s, who are afforded
greater leniency on procedural matters. Barrett v. Lombardi, 239

F.3d 23, 28 (1st Cir. 2001); Baillargeon v. CSX Transportation

Corp., 463 F. Supp. 3d 76, 85 (D. Mass. 2020).
Here, given plaintiff's pro se status, the Court will deny
defendant’s motion to strike to his improperly filed amended

complaint. See Araujo v. UGL Unicco-Unicco Operations, No. CV

13-13225-GAO, 2016 WL 1258734, at *5 n.7 (D. Mass. Mar. 28,
2016) (declining to strike improper filing because of
plaintiff's pro se status). The Court will, instead, admit
plaintiff's amended pleading and treat it as the operative
complaint. Notwithstanding this leniency, however, plaintiff
will henceforth be required to comply with all applicable

procedural rules. See Gedeon v. Desousa, No. 16-CV-30058-MGM,

2017 WL 2261129, at *1 n.2 (D. Mass. Feb. 16, 2017) (recognizing
that, although pro se plaintiffs receive leniency, they must
still comply with applicable procedural rules).

Based on the denial of Wormuth’s motion to strike,
defendants’ motion to dismiss for failure to state a claim and
lack of subject matter jurisdiction will be deemed moot. The
Court will, however, afford defendants 30 days from the issuance
of this order to file responsive pleadings to the amended

complaint.
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ORDER

For the foregoing reasons:

1) the motion of defendant, Christine Wormuth, to strike the
amended complaint of plaintiff, Dion Quinn, (Docket No.
67) is DENIED;

2) plaintiff’s amended complaint (Docket No. 66) will be
docketed and deemed the operative complaint;

3) the motion of defendant, Christine Wormuth, to dismiss
plaintiff's complaint for failure to state a claim and
lack of subject matter jurisdiction (Docket No. 51) is
DENIED as moot; and

4) defendants shall file responsive pleadings to plaintiff's
amended complaint on or before Monday, November 18, 2024.

So ordered.

Nathaniel M. “Gorw a
United States District Judge

Dated: October /$. 2024
